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                                IN THE UNITED STATES DISTRICT COURT
                                FOR THE NORTHERN DISTRICT OF TEXAS
                                        FORT WORTH DIVISION

    UNITED STATES OF AMERICA

    V.                                                           NO. 4:23-CR-319-O
    LUIS GONZALO MARTINEZ VASQUEZ (01)

                      PLEA AGREEMENT WITH APPELLATE-RIGHTS WAIVER

                   Luis Gonzalo Martinez Vasquez, the defendant; John J. Stickney, the defendant's

    attorney; and the United States of America (the government) agree as follows:

              1.         Rights of the defendant: The defendant understands that the defendant

    has the right:

                         a.     to indictment by a grand jury;
                         b.     to plead not guilty;
                         c.     to have a trial by jury;
                         d.     to have the defendant's guilt proven beyond a reasonable doubt;
                         e.     to confront and cross-examine witnesses and to call witnesses in the
                                defendant's defense; and
                         f.     against compelled self-incrimination.

               2.        Waiver of rights and plea of guilty: The defendant waives these rights

    and pleads guilty to the offense alleged in Count One of the Information, charging a

    violation of21 U.S.C. §§ 84l(a)(l) and (b)(l)(C) and 846, that is, conspiracy to distribute

    and possess with intent to distribute a controlled substance. The defendant understands

    the nature and elements of the crime to which the defendant is pleading guilty, and agrees

    that the factual resume the defendant has signed is true and will be submitted as evidence.




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          3.   Sentence: The maximum penalties the Court can impose include:

               a.       imprisonment for a period not to exceed 20 years;

               b.       a fine not to exceed $1,000,000, or both a fine and imprisonment;

               c.       a supervised-release term of at least three years to a maximum of
                        Life, which is mandatory under the law and will follow any prison
                        term. If the defendant violates any of the supervised-release
                        conditions, the Court could revoke the defendant's supervised
                        release and order the defendant to serve additional time in prison;

               d.       a $100 mandatory special assessment; and

               e.       forfeiture of property.
          4    Immigration consequences: The defendant recognizes that pleading

guilty may have consequences with respect to the defendant's immigration status if the

defendant is not a citizen of the United States. Under federal law, a broad range of

crimes are removable offenses. The defendant understands this may include the offense

to which the defendant is pleading guilty, and for purposes of this plea agreement, the

defendant assumes the offense is a removable offense. Removal and other immigration

consequences are the subject of a separate proceeding, however, and the defendant

understands that no one, including the defendant's attorney or the district court, can

predict to a certainty the effect of the defendant's conviction on the defendant's

immigration status. The defendant nevertheless affirms that the defendant wants to plead

guilty regardless of any immigration consequences that the defendant's plea of guilty

may entail, even if the consequence is the defendant's automatic removal from the United

States.




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       5.      Court's sentencing discretion and role of the Guidelines: The defendant

understands that the sentence in this case will be imposed by the Court after consideration

of the United States Sentencing Guidelines. The guidelines are not binding on the Court

but are advisory only. The defendant has reviewed the guidelines with the defendant's

attorney but understands no one can predict with certainty the outcome of the Court's

consideration of the guidelines in this case. The defendant will not be allowed to

withdraw the defendant's plea if the defendant's sentence is higher than expected. The

defendant fully understands that the actual sentence imposed (so long as it is within the

statutory maximum) is solely in the discretion of the Court.

       6.     Defendant's agreement. The defendant shall not knowingly provide false

information to the U.S. Probation Office (USPO), the Court, or the government relating

to the offense(s) of conviction and all relevant conduct, or any information the defendant

must provide related to this agreement. If the defendant is on conditions of pretrial

release, the defendant agrees to continue to abide by all of the pretrial-release conditions

(this includes if the Court provides the defendant with a date to report to serve any prison

sentence), and the defendant understands that if the defendant violates any of the pretrial-

release conditions, the government will be free from any obligations of the agreement and

free to prosecute the defendant for all offenses of which it has knowledge, including the

reinstatement of charges dismissed pursuant to this plea agreement.

       7.     Mandatory special assessment: The defendant agrees to pay the U.S.

District Clerk the amount of $100 in satisfaction of the mandatory special assessment.




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       8.     Financial Obligations: The defendant understands that any financial

obligation imposed by the Court for restitution, fines, or special assessments is due and

payable immediately. In the event the Court imposes a schedule for payment, the

defendant agrees that such a schedule represents a minimum payment obligation and does

not preclude the U.S. Attorney's Office from pursuing any other means by which to

satisfy the defendant's full and immediately enforceable financial obligation. The

defendant understands that the defendant has a continuing obligation to pay in full as

soon as possible any financial obligation imposed by the Court. The defendant further

agrees as follows:

              a. The defendant agrees that the financial statement, with any supporting
                 documents, the defendant provides to the USPO may be shared with the

                 Court and the government.

              b. The defendant shall submit to interviews by the government and the
                 USPO regarding the defendant's capacity to satisff any fine, restitution,

                  or special assessment.

              c. The defendant expressly authorizes the United States Attorney's Office
                 to immediately obtain a credit report on the defendant to evaluate the

                     defendant's ability to satis$r any financial obligation imposed by the

                     Court

       9.     Restitution: The defendant agrees that the Court is authorized to order, and

the defendant agrees to pay, restitution for all loss or harm resulting from the offense(s)

of conviction and all relevant conduct, in an amount to be determined by the Court.


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Defendant agrees that, for purposes of this paragraph, restitution for relevant conduct

shall include all acts and omissions described in USSG $ 181.3(a)(1)(A) and (1)(B), all

harm that resulted from the acts and omissions specified in USSG $ 181.3(a)(1)(A) and

(1)(B) (under USSG $ 1B1.3(a)(3)), as well as all acts and omissions that were part of the

same course of conduct or common scheme or plan, regardless whether the grouping

rules in USSG $ 3Dl .2 might apply to computation of the advisory guideline range. The

defendant understands that should the Court order that restitution be paid jointly and

severally with others who are required to pay restitution for the same loss to victims, or

the harm resulting from the offense(s) of conviction and relevant conduct, that credit may

not be received for all payments made by any other person with joint and several liability

The defendant agrees that any restitution ordered to be paid jointly and severally remains

the responsibility of the defendant until the defendant has paid the defendant's ordered

amount of restitution in fulI or the respective victim has been paid in full.

       10. Forfeiture of properfy: The defendant agrees not to contest, challenge, or
appeal in any way the administrative or judicial (civil or criminal) forfeiture to the United

States of any property noted as subject to forfeiture in the indictment or information, or

seized or restrained in the investigation underlying the indictment or information

regardless of whether it is noted as subject to forfeiture in the indictment or information

The defendant agrees that this properff is subject to forfeiture under 18 U.S.C. $ 92a(d);

21 U.S.C. $ 853; and26 U.S.C. $ 2a61(c). The defendant also agrees that, for purposes

of this paragraph, forfeiture of property also includes any property seized or restrained

based on relevant conduct, which shall include all acts and omissions described in USSG


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$ 1B1.3(a)(1)(A) and (lXB), all harm that resulted from the acts and omissions specified

in USSG $ 181.3(a)(1)(A) and (1)(B) (under USSG $ lBl.3(a)(3)), as well as all acts and

omissions that were part of the same course of conduct or common scheme or plan,

regardless whether the grouping rules in USSG $ 3Dl .2 might apply to the computation

of the advisory guideline range. The defendant consents to entry of any orders or

declarations of forfeiture regarding such properly and waives any requirements (including

notice of forfeiture) set out in 19 U.S.C. $$ 1607-1609; 18 U.S.C. $$ 924(d), 981, 983,

and 985; the Code of Federal Regulations; and Rules 11 and 32.2 of the Federal Rules of

Criminal Procedure. The defendant agrees to provide truthful information and evidence

necessary for the government to forfeit such properfy. The defendant agrees to hold the

government, its officers, agents, and employees harmless from any claim whatsoever in

connection with the seizure, forfeiture, storage, or disposal of such property.

       I   1.   Government's agreement: The government will not bring any additional

charges against the defendant based upon the conduct underlying and related to the

defendant's plea of guilty. After sentence is imposed, the government will dismiss any

remaining charges in the pending the indictment or information against the defendant.

This agreement is limited to the United States Attorney's Office for the Northern District

of Texas and does not bind any other federal, state, or local prosecuting authorities, nor

does it prohibit any civil or administrative proceeding against the defendant or any

property.

       12. Violation of agreement: The defendant understands that if the defendant
violates any provision of this agreement, or if the defendant's guilty plea is vacated or


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withdrawn, the government will be free from any obligations of the agreement and free to

prosecute the defendant for all offenses of which it has knowledge, including the

reinstatement of charges dismissed pursuant to this plea agreement. In the event of such

a violation, vacatur, or withdrawal, the defendant waives all objections based upon delay

in prosecution. If the plea is vacated or withdrawn for any reason other than a finding

that it was involuntary, the defendant also waives all objections to the use against the

defendant of any information or statements the defendant has provided to the

govemment, and any resulting leads.

       13. Voluntary plea: This plea of guilty is freely and voluntarily made and is
not the result of force or threats, or of promises apart from those set forth in this plea

agreement. There have been no guarantees or promises from anyone as to what sentence

the Court will impose.

       t4.    Waiver of right to appeal or otherwise challenge sentence: The

defendant waives the defendant's rights, conferred by 28 U.S.C. $ 1291 and l8 U.S.C.

5 3742, to appeal the conviction, sentence, fine and order of restitution or forfeiture in an

amount to be determined by the Court. The defendant further waives the defendant's

right to contest the conviction, sentence, fine and order of restitution or forfeiture in any

collateral proceeding, including proceedings under 28 U.S.C. 5 2241 and 28 U.S.C.

5 2255. The defendant, however, reserves the rights (a) to bring a direct appeal of (i) a

sentence exceeding the statutory maximum punishment, or (ii) an arithmetic error at

sentencing, (b) to challenge the voluntariness of the defendant's plea of guilty or this

waiver, and (c) to bring a claim of ineffective assistance of counsel.


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       15. Representation of counsel: The defendant has thoroughly reviewed all
legal and factual aspects of this case with the defendant's attorney and is fully satisfied

with that attorney's legal representation. The defendant has received from the

defendant's attorney explanations satisfactory to the defendant concerning each

paragraph of this plea agreement, each of the defendant's rights affected by this

agreement, and the alternatives available to the defendant other than entering into this

agreement. Because the defendant concedes that the defendant is guilty, and after

conferring with the defendant's attorney, the defendant has concluded that it is in the

defendant's best interest to enter into this plea agreement and all its terms, rather than to

proceed to trial in this case.




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       16. Entirety of agreement: This document, including any Supplement filed
contemporaneously, is a complete statement of the parties' agreement and may not be

modified unless the modification is in writing and signed by all parties. This agreement

supersedes any and all other promises, representations, understandings, and agreements

that are or were made between the parties at any time before the guilty plea is entered in

court. No promises or representations have been made by the United States except as set

forth in writing in this plea agreement.

       AGREED TO AND SIGNED this )" day of                    l-..n6-            ,2023

                                             LEIGHA SIMONTON
                                             UNITED STATE,S ATTORNEY


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                                           / *fktrL.     GArro
                                              Assistant United States Attorney
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                                                 WN SMITH
                                             Deputy Chief




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       I have read or had read to me this plea agreement and have carefully reviewed
every part of it with my attorney. I fully understand it and voluntarily agree to it.


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LUIS GONZALO MARTINE,Z VASQUEZ                         Date

      I am the defendant's attorney. I have carefully reviewed every part of this plea
agreement with the defendant. To my knowledge and beliel my client's decision to enter
into this plea agreement is an informed and voluntary one.


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J      J. STI       Y                                  Datc
Attorney for Defendant




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